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            EXHIBIT A
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 GUO Li, Professor & Vice Dean, Peking University Law School, China

 GUO Li is a Professor of Law and Vice Dean at Peking University Law School, and the chief
 editor of PKU Journal of Legal Studies. He has also taught at Cornell, Duke, Hong Kong, Sydney,
 Vanderbilt, and is the recipient of the Humboldt Foundation Fellowship. His scholarly interests
 cover financial laws, social development and comparative studies. He is the Vice Chairman of
 China Banking Law Society, and also the standing committee members of China Economic Law
 Society and China Securities Law Society, and awarded as one of the Outstanding Teachers by the
 Beijing Municipal Government, among the others.

 Prof. Guo has published over 50 articles in different SSCI or CSSCI journals. He is currently
 serving as a member of the Public Offering Review Committee for China Securities Regulatory
 Commission, as well as the expert members of specialized committees for Asset Management
 Association of China and National Internet Finance Association of China. He is named as an
 arbitrator at Beijing Arbitration Commission and Shenzhen Court of International Arbitration, and
 admitted into the Bar of China and New York State. He is a graduate of PKU, Southern Methodist,
 and Harvard Law School.
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                            E-mail: liguo@pku.edu.cn or guoli@263.net

 1. Education

 2003üü2004        Harvard University Law School, LL.M. (Int’l Finance Concentration)
 1997üü2003        Peking University Law School, LL.D. (Int’l Economic Law)
 1999üü2000        Southern Methodist Univ. Law School, LL.M. (Int’l & Comparative Law)
 1992üü1997        Peking University Law School, LL.B. (Economic & Int’l Economic Law)

 2. Work Experience

 2005/08üü              Peking University Law School, Lecturer; Associate Professor; Professor
 2010ǃ2011              Humboldt Foundation Fellow (Freiburg University, Germany)
 2008/08üü2009/05       Cornell University Law School, Wang Visiting Assi. Prof.
 2003/07üü2005/06       Peking Univ. Guanghua School of Management, Postdoctoral Researcher

 3. Membership and Fellowship

 ¾ Vice Chairman, China Banking Law Society; standing committee members, China Economic
         Law Society & China Securities Law Society
 ¾ Member of the Public Offering Review Committee for China Securities Regulatory
         Commission
 ¾ Expert members of the specialized committees for Asset Management Association of China &
         National Internet Finance Association of China.
 ¾ Members of the P. R. China Bar & the New York State Bar
 ¾ Arbitrators, Beijing Arbitration Commission & Southern China International Economic and
   Trade Arbitration Commission/ ShenZhen Court of International Arbitration
 ¾ Fellows, Asian Institute of International Financial Law (Hong Kong University)

 4. Representative Publications in Chinese

 Books
 May 2013          The Securities Bar: Strategic Development and Regulatory Framework in
                   Comparative Perspective, Law Press China
 Oct.2012          The Reform of Financial Regulation System of China During Financial
                   Market Globalization, Economic Science Press (with CAO Fengqi, etc.,
                   Beijing Book Awards)
 Jun.2008          A Study of the Legal Frameworks for Credit Reporting, Economic Daily Press
                   (with LI Qingchi)
 Jul. 2006         A Legal Reflection on the Innovation and Development of Chinese Banking
                   Industry, Peking University Press (National and Beijing Book Awards)
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 Feb.2004           Private Placement in the U.S. Securities Law, Peking University Press
                    (National Book Award)
 Nov. 2001          Cogito Ergo Sum: Selected Essays on Financial Law, Economic Science Press
                    (PKU Research Award)

 Journal articles
 Dec. 2017          The Practice of Sovereign Wealth Funds under the Background of
                    “International Rule of Law” Reconstructing, Jianghan Tribute, Vol. 12, 2017.
 May 2016           The Legal Issues Concerning Denominated Sale Practices of Privately Placed
                    Bond in Regional Stock Market Through Online Sales Platform, Securities
                    Market Herald, Vol. 5, 2016.
 Apr. 2016          The Incentive and Protective Mechanism on Offence-Reporter Who Reported
                    the Illegal Activities of Securities, Jianghan Tribute, Vol. 4, 2016.
 Mar. 2016          Revisiting the Chinese Styled Board of Supervisors: How It Get Failed? – An
                    International Comparative Perspective, Journal of Comparative Law, Vol. 2,
                    2016.
 Jan. 2015          The Going-Private Transaction: Standard Revisited and Interests Balanced –
                    Overseas Experiences and Insights of the Voluntary Delisting, Peking
                    University Law Review, Vol. 15, No.2.
 Jun. 2014          The Increasing Restraints on Extraterritorial Rights of Action: A Study on
                    Recent Cases of the U.S. Supreme Court, Peking University Law Journal, Vol.
                    3, 2014.
 May 2014           The Logic, Path and Pilot Zone for Interest Rate liberalization, Academic
                    Monthly, Vol. 46, No. 5, 2014.
 Feb. 2014          The Review and Reference of Hong Kong’s New Regulatory Reform of the
                    Sponsor System, Securities Market Herald, Vol. 2, 2014.
 Aug. 2013          Cases, Development and Regulations in the Credit Guarantee Sector,
                    Financial Regulation Research, Vol. 8, 2013.
 Jul. 2012          New Development of China’s Corporate Capital System, Studies in Law and
                    Business, Vol. 4, 2012.
 May 2012           The Creation of “JOBS” Dividends System – The Discussion on the
                    Rebalance of United States Securities Regulation, Securities Market Herald,
                    Vol. 5, 2012.
 Apr.2012           The Impact Analysis of WTO Dispute Resolutions on the Chinese Agricultural
                    Support Policies, Journal of Nanjing Agricultural University (Social Sciences
                    Edition), Vol. 2, 2012.
 Apr.2012           The Development Path and Norms for Securities Lawyers in China: A
                    Proposal, Legal Science, Vol. 4, 2012.
 Nov.2011           The Latest Developments of the U.S. Securities Extraterritorial Jurisdiction,
                    Securities Market Herald, Vol. 11, 2011.
 Mar.2011           Reflections on the Changes of Rule for Securities Non-public Offer: China and
                    the US, Expanding Horizons, Vol. 3, 2011.
 Mar.2011           A Better Legal Duties Regime for Securities Market Intermediaries, Journal of
                    Nanjing Agricultural University (Social Sciences Edition), Vol. 1, 2011.
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 Dec.2010          Perfecting the Liability System for Fraudulent Cashing on Credit Cards, Legal
                   Science, Vol. 12, 2010.
 Sept.2010         Supervisory Environment and Model Selection of Overseas M&A Investment
                   by China Investment Corporation, Tsinghua Law Journal, Vol. 5, 2010.
 Aug.2010          Exploring the Boundaries of Securities Fraud Liabilities: A Reflection of the
                   US Supreme Court Latest Cases on Misstatement, Peking University Law
                   Journal, Vol. 4, 2010.
 Aug.2009          The US Regulations on Private Equity Fund: Development and Reflection,
                   Modern Law Review, Vol. 4, 2009.
 Aug.2009          China Investment Company: A sovereign Wealth Fund as the Bank Holding
                   Company, Peking University Law Journal, Vol. 4, 2009.
 Jul. 2009         Further Thoughts on the US Securities Class Action, Peking University Law
                   Review, Vol. 10, No.2, 2009.
 Jul. 2009         An Analytic and Regulatory Framework on Shares Cross-holding, Journal of
                   Philosophy & Social Science of Peking Univ., Vol. 4, 2009.
 Nov.2008          Administrative Law Judges in the US SEC Securities Enforcement,
                   Administrative Law Review, No. 4, 2008.
 Aug.2007          Safeguarding the Securities Investors’ Assets: Law and Practice, Productivity
                   Research, No.15, 2007.
 Feb. 2007         Concerns on Evolution of Securities Clearing and Settlement Regulations in
                   China, Securities Market Herald, Vol. 2, 2007.
 Jan. 2007         The Legal and Policy Analysis the Guarantee Company’s Involvement in
                   Banks’ Credit Card Business, Legal Science, Vol. 1, 2007.
 Oct. 2006         Legitimacy Puzzle on Monetary Management with Guaranteed Minimum
                   Return, Journal of Philosophy & Social Science of Peking Univ., Vol. 5, 2006.
 Jan. 2006         Issuing Stock to Specific Individuals: Constructing System and Analyzing
                   Problem, East China Univ. of Politics and Law Journal, Vol. 1, 2006.

 5. Representative Publications in English

 Books & Book chapters
 Dec. 2017       The Chinese Board of Supervisors System: An International Comparison,
                 Foreign investments on Chinese capital markets, Mohr Siebeck Publishing
                 (Germany)
 Nov. 2016       Chinese Expansion in the European Union (with Cristiano Rizzi, etc.),
                 American Bar Association Publishing (US)
 Sept. 2015      The Hybridization of China’s Financial System, Regulating the Visible Hand?
                 The Institutional Implications of Chinese State Capitalism, Oxford University
                 Press (UK)
 Aug. 2015       Shareholder Rights in China: from Book to Action, Research Handbook on
                 Shareholder Power (Edited by Jennifer Hill & Randall Thomas), Edward
                 Elgar Publishing (UK)
 Jul. 2012       Mergers and Acquisitions and Takeovers in China (with Cristiano Rizzi &
                 Joseph Christian) Wolters Kluwer (Netherlands & US)
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 Jan. 2010          Chinese Business Law (Ch. 4, Securities) (edited by BU Yuanshi) C. H. Beck
                    & Hart Publishing (UK & Germany)

 Journal articles
 Dec. 2016          Is Australia’s “Twin Peaks” System of Financial Regulation a Model for
                    China? Hong Kong Law Journal, Vol.46, Part 2-3 (HK, SSCI)
 Mar. 2015          Chinese Style VIEs: Continue to Sneak under Smog?, Cornell International
                    Law Journal, Vol. 47, Issue 3 (US, SSCI)
 Oct. 2014          In Search of a Place in the Sun: The Shadow Banking System with Chinese
                    Characteristics, European Business Organization Law Review, Vol. 15, Issue
                    3 (UK, SSCI)
 Dec. 2012          The Legal Considerations of Doing M&A with Chinese Companies, Seoul
                    Law Journal, Vol. 53, No. 4 (Korea)
 Sept.2011          Entering the Chinese Market through Takeovers, Listed Company Acquisition
                    and M&A: A New Form of Investment and A New Method to Expand a
                    Presence in China, Diritto Del Commercio Internazionale, Issue 2, Giuffre
                    Editore (Italy)
 June 2010          Demystifying the Chinese Sovereign Wealth Fund Amidst U.S. Financial
                    Regulation, Tsinghua China Law Review, Vol. 2, Issue 2 (US)
 Nov.2009           The Fledgling Securities Fraud Litigation in China, Hong Kong Law Journal,
                    Vol.39, Part 3 (HK, SSCI)
 Oct. 2009          The Cross Holding of Company Shares – A Preliminary Legal Study of Japan
                    and China, Frontiers of Law in China, Vol. 4, Issue 4 (China)
 Dec.2007           The Chinese Financial Conglomerates and Its Company Law Implication,
                    Journal of Korean Law, Vol. 7, No. 1 (Korea).
 Dec.2006           The Emerging Chinese Financial Conglomerates – Development and Doubt,
                    Journal of Chinese Law, Issue 4 (Germany).
 Nov.2004           Financial Holding Company or Universal Bank? - A Comparative Note on the
                    Latest Amendment to China’s Commercial Bank Law Art. 43, Banking Law
                    Journal, Vol. 121, No. 10 (US).
 June 2003          Bloom or Doom? — Legal Approach and Int’l Perspectives on Contracting
                    over Internet in China, International Business Lawyer, Vol. 31, No.3 (UK).
 Apr. 2003          The Collapse of the Glass-Steagall Wall and Its Impacts on China’s Banking
                    Law, Journal of International Banking Law and Regulation, Vol. 18, Issue 4
                    (UK).

 Chief Editor       Peking University Journal of Legal Studies (in English, Peking University
                    Press)
 Members            of the editorial boards for Asian Journal of Comparative Law (National
                    University of Singapore), Securities Legal Forum (Shanghai Stock Exchange),
                    Securities Market Herald (Shenzhen Stock Exchange) and The Investor
                    (China Securities Investor Services Center)

 6. Recent Research Projects
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 ¾   Research on the Financial Risks and Financial Safety -- A Legal and Institutional
     Perspective, China Law Society
 ¾   The Study on the Legal Risks and Regulatory Models of Sovereignty Wealth Fund Investments,
     China National Social Science Fund
 ¾   Research on the Role and Functions of Securities Lawyers in China’s Capital Market, China
     Law Society
 ¾   China’s Legal System of Non-listed Securities: Offer and Trade, Ministry of Justice
 ¾   China’s Financial Regulation Structure under the Financial Market Globalization, Ministry
     of Education
 ¾   Convention Study: Substantive Rules Regarding Intermediated Securities, China Securities
     Regulatory Commission
 ¾   The Debt Work-out for SOEs in China – An Analysis of the Systematic Issues, World Bank &
     China State Economy and Trade Commission

 7. Awards

 Dec. 2017         Beijing 2nd Legal Study Publication Award
 Sept. 2017        Beijing Outstanding Teachers Award
 Dec. 2016         19th An Zhijie International Trade Research Award, Best Essay
 Nov. 2015         3rd Dong Biwu Legal Research Publication Award
 Nov. 2010         16th An Zhijie International Trade Research Award, Best Essay
 Apr. 2010         China Law Society Top Youth Legal Scholars
 Sept.2009         Beijing Education Award for Teaching Innovation
 Aug.2009          China 3rd National Legal Study Publication Award
 Aug.2008          Beijing Municipal Gov. Award for Excellent Social Science Publication,
                   Second Prize
 Oct. 2006         China 2nd National Legal Study Publication Award, Excellent Work
 July 2006         Beijing Municipal Grant for Social Science Publications

 Nov.2017          Peking University Award for Teaching Accomplishment, First Prize
 Dec.2016          Peking University Award for Humanities and Social Science Publication
 Jan. 2015         Peking University Award for Humanities and Social Science Research
 June 2014         Peking University Tang Lixin Best Teaching Award
 Dec.2013          Peking University Award for Humanities and Social Science Publication
 Nov.2012          Peking University Award for Teaching Accomplishment, First Prize
 Jun. 2011         Peking University Law School Hallam Chow Teacher Award
 Jan. 2010         Peking University Kiriyama Education Fund Research Fellowship
 Jan. 2009         Peking University Award for Humanities and Social Science Research
 Sept.2008         Peking University Award for Excellence in Teaching
 Nov.2007          Peking University 7th Young Teacher Competition, First Prize
 Sept.2006         Peking University ICBC Teacher Award
